                          Case 1:22-cv-00058-CRC Document 6 Filed 01/19/22 Page 1 of 6




  Amaplat Mauritius Ltd.; and Amari Nickel Holdings
                   Zimbabwe Ltd.



                                                                                                     22-cv-58 CRC
Zimbabwe Mining Development Corporation; The Chief Mining Commissioner,
      Ministry of Mines of Zimbabwe; and the Republic of Zimbabwe




                                                       The Chief Mining Commissioner, Ministry of Mines of Zimbabwe,
                                                       6th Floor, ZIMRE Centre, Cnr. Leopold Takawira Street/Kwame Nkrumah
                                                       Avenue, Private Bag 7709, Causeway, Harare, Zimbabwe




                               Steven K. Davidson
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                               1330 Connecticut Avenue, NW
                               Washington, DC 20036




           1/19/2022                                                                /s/ Renee Jackson
           Case 1:22-cv-00058-CRC Document 6 Filed 01/19/22 Page 2 of 6




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                       (name of individual and title, if any)

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                                                                           (date)

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(date)

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  Amaplat Mauritius Ltd.; and Amari Nickel Holdings
                   Zimbabwe Ltd.




Zimbabwe Mining Development Corporation; The Chief Mining Commissioner,
                                                                                                  22-cv-58 CRC
      Ministry of Mines of Zimbabwe; and the Republic of Zimbabwe




                                                       Zimbabwe Mining Development Corporation,
                                                       90 Mutare Road, Msasa, Harare, Zimbabwe




                               Steven K. Davidson
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                               1330 Connecticut Avenue, NW
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           1/19/2022                                                               /s/ Renee Jackson
           Case 1:22-cv-00058-CRC Document 6 Filed 01/19/22 Page 4 of 6




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                       (name of individual and title, if any)

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  Amaplat Mauritius Ltd.; and Amari Nickel Holdings
                   Zimbabwe Ltd.




Zimbabwe Mining Development Corporation; The Chief Mining Commissioner,
                                                                                                            22-cv-58 CRC
      Ministry of Mines of Zimbabwe; and the Republic of Zimbabwe




                                                       The Republic of Zimbabwe,
                                                       c/o Head of the Ministry of Foreign Affairs, Ministry of Foreign Affairs, P.O. Box
                                                       4240, Munhumutapa Building, Cnr. Samora Machel Avenue/Sam Nujoma Street,
                                                       Harare, Zimbabwe




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           1/19/2022                                                                  /s/ Renee Jackson
           Case 1:22-cv-00058-CRC Document 6 Filed 01/19/22 Page 6 of 6




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                       (name of individual and title, if any)

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                                                                (place)

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                                                                                             (name)



(date)

                                   (name of individual)

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